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                                UNITED STATES BANKRUPTCY COURT
                                       Middle District of Florida
                                          Orlando Division



IN RE:                                                               Case No:      6:14-bk-02843-KSJ

POURIA BIDHENDI


                                                 Debtor /            Chapter 13


 TRUSTEE'S MOTION TO DISMISS CASE FOR INCURRING 2015, 2016 POST-PETITION TAX
                                   DEBT

                          Notice of Opportunity to Object and Request for Hearing

    Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
notice or hearing unless a party in interest files a response within twenty-one (21) days from the date set forth
on the attached proof of service, plus an additional three days for service if any party was served by U.S. Mail.

    If you object to the relief requested in this paper, you must file a response with the Clerk of the Court,
United States Bankruptcy Court, George C. Young Courthouse, 400 W. Washington St., Suite 5100,
Orlando, Florida 32801 and serve a copy on the Chapter 13 Trustee, Laurie K Weatherford, PO Box 3450,
Winter Park, FL 32790-3450 and any other appropriate persons within the time allowed. If you file and serve
a response within the time permitted, the Court will either schedule and notify you of a hearing, or consider the
response and grant or deny the relief requested without a hearing.

     If you do not file a response within the time permitted, the Court will consider that you do not oppose the
relief requested in the paper, will proceed to consider the paper without further notice or hearing, and may
grant the relief requested.


COMES NOW, Laurie K. Weatherford, the Chapter 13 Trustee, and files her Motion to Dismiss Case for
Incurring Post-Petition Debt, and as grounds states as follows:

         1. That the Chapter 13 Petition for relief was filed on March 13, 2014.

         2. That the Order Confirming Plan was entered on January 20, 2015.

       3. The Confirmation Order entered by this Court states that “The Debtor is prohibited from incurring
any post-confirmation debt during the term of this plan without prior approval of the Court or the Trustee”.

         4. The Debtor incurred post-petition tax liabilities to the IRS for
            $17,451.00 in the tax years(s) 2015, 2016.
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      5. The Trustee has requested proof that the Debtor has paid all post-petition taxes that
   have been incurred, but as of the date of the filing of this motion, has not received proof of payment.

        6. The Trustee is unable to file a report of completion of plan until the Debtor has
    performed as required under the Bankruptcy Code and the Order Confirming plan relating to post-petition
tax debt.

WHEREFORE, the Trustee prays that this Court will grant this Motion and dismiss this case.

                                           Certificate of Service

I HEREBY CERTIFY, that a true and correct copy of the foregoing was served upon the parties listed below
by first-class U.S. Mail, postage prepaid or by Electronic Notification through the Court’s ECF System at the
e-mail address registered with the Court, on this 19th day of June, 2019.

Debtor - Pouria Bidhendi, 1012 Marabon Avenue, Orlando, FL 32806
Debtor's Attorney - Scott W Spradley, Law Office Of Scott W Spradley, Po Box 1109 S 5TH ST, Flagler
Beach, FL 32136
                                                         /S/ LAURIE K. WEATHERFORD
                                                         Chapter 13 Trustee
                                                         Stuart Ferderer
                                                         FL Bar No. 0746967
                                                         Ana DeVilliers
                                                         FL Bar No. 0123201
                                                         Attorney for Trustee
                                                         PO Box 3450
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                                                         Telephone: 407-648-8841
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